Case 1:23-cr-00257-TSC Document 3-1 Filed 08/01/23 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA a
*
Vv. i CRIMINAL NO.

*

DONALD J. TRUMP, * FILED UNDER SEAL
*
Defendant. 7
*

SEALED ORDER

Upon consideration of the Government’s Motion to Seal the Indictment and Related
Matters and to Delay Entry on the Public Docket, for the reasons set forth therein and in
consideration of Washington Post v. Robinson, 935 F.2d 282, 289 n.10 (D.C. Cir. 1991), it is:

ORDERED that the indictment, Government’s Motion to Seal, this Order, the summons,
and all other records be sealed and that their entry on the public docket of the criminal case be
delayed until the records are automatically unsealed at 5:30 p.m. on Tuesday, August 1, 2023.

IT IS FURTHER ORDERED that in the interim, the Government is authorized to make
limited disclosure of the fact that the Grand Jury has returned an indictment and that there will be
an initial court appearance on August 3, 2023, as follows:

1. To attorneys for the defendant to effectuate service of the judicial summons, make
arrangements for his court appearance, discuss court procedures and scheduling,
and make arrangements for producing discovery;

2. To local and federal law enforcement and other government agencies to ensure
public order, witness security, and the integrity of the judicial proceedings, and
public order, and to make logistical preparations for the defendant’s court

appearance;

3. To witnesses and their attorneys to protect against harassment and intimidation; and
Case 1:23-cr-00257-TSC Document 3-1 Filed 08/01/23 Page 2 of 2

4. As otherwise necessary to advance the law enforcement and security purposes and
equities set forth above.

HONORABLE MOXILA A. UPADHYAYA
UNITED STATES MAGISTRATE JUDGE
